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10
                                 IN THE UNITED STATES DISTRICT COURT
11
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
12
                                          SACRAMENTO DIVISION
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15     RALPH COLEMAN, et al.,                             2:90-cv-00520 LKK JFM PC

16                                  Plaintiffs, DECLARATION OF MANEESH
                                                SHARMA IN SUPPORT OF
17               v.                             DEFENDANTS’ OPPOSITION TO
18                                              PLAINTIFFS’ MOTION RELATED TO
       EDMUND G. BROWN JR., et al.,             USE OF FORCE AND DISCIPLINARY
19                                              MEASURES
                                  Defendants.
20

21            I, Maneesh Sharma, declare as follows:
22            1.   I am a Deputy Attorney General with the California Office of the Attorney General,
23     attorneys of record for Defendants in this case, and I am admitted to practice before the courts of
24     the State of California and before this Court. I am competent to testify to the matters set forth in
25     this declaration, and if called upon by this Court, would do so competently. I submit this
26     declaration in support of Defendants’ Opposition to Plaintiffs’ Motion Related to Use of Force
27     and Disciplinary Measures and their Motion Related to the Housing and Treatment of Mentally Ill
28     Inmates in Segregation.
                                                     1
             Decl. M. Sharma Supp. Defs’ Opp'n. to Pls.’ Mot. Rel. to Use of Force & Discipl. Measures
                                                                                 (2:90-cv-00520 LKK JFM PC)
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 1            2.   Attached as Exhibit 1 is a true and correct copy of the Order Terminating Force

 2     Related Orders and Dismissing Case issued on May 21, 2011 in Madrid v. Cate, Case No. C 90-

 3     CV-3094, ECF No 2200.

 4            3.   Attached as Exhibit 2 is a true and correct copy of Plaintiffs’ Response to the Court’s

 5     Order to Show Cause Re Force-Related Orders filed on January 21, 2011 in Madrid v. Cate, Case

 6     No. C 90-CV-3094, ECF No 2186.

 7            4.   Attached as Exhibit 3 is a true and correct copy of the Declaration of Steven Fama in

 8     Support of Plaintiffs’ Response to the Court’s Order to Show Cause Re Force-Related Orders

 9     filed on January 21, 2011 in Madrid v. Cate, Case No. C 90-CV-3094, ECF No 2186-1.

10            5.   Attached as Exhibit 4 is a true and correct copy of excerpts from the Deposition

11     Transcript of Robert Barton, taken on July 11, 2013.

12            6.   Attached as Exhibit 5 is a true and correct copy of excerpts from the Deposition

13     Transcript of Robert Barton, taken on July 16, 2013.

14            7.   Attached as Exhibit 6 is a true and correct copy of the Office of the Inspector

15     General’s report entitled “Semi-Annual Report, July-December 2012, Volume II, April 2013.”

16            8.   Attached as Exhibit 7 is a true and correct copy of Office of the Inspector General’s

17     “Initial Report on Use of Force within the California Department of Corrections and

18     Rehabilitation, November 2011.”

19            9.   Attached as Exhibit 8 is a true and correct copy of the Office of the Inspector

20     General’s report entitled “Use of Force within the California Department of Corrections and

21     Rehabilitation July–December 2011, May 2012.”

22            10. Attached as Exhibit 9 is a true and correct copy of the Office of the Inspector

23     General’s report entitled “Use of Force within the California Department of Corrections and

24     Rehabilitation January–June 2012, October 2012.”

25            11. Attached as Exhibit 10 is a true and correct copy of excerpts from the Deposition

26     Transcript of Steve Martin, taken on February 28, 2013.

27            12. Attached as Exhibit 11 is a true and correct copy of excerpts from the Deposition

28     Transcript of Eldon Vail, taken on March 19, 2013.
                                                      2
            Decl. M. Sharma Supp. Defs’ Opp'n. to Pls.’ Mot. Rel. to Use of Force & Discipl. Measures
                                                                                (2:90-cv-00520 LKK JFM PC)
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 1            13. Attached as Exhibit 12 is a true and correct copy of excerpts from the Deposition

 2     Transcript of Eldon Vail, taken on June 27, 2013.

 3            14. Attached as Exhibit 13 is a true and correct copy of the Office of the Inspector

 4     General’s “Semi-Annual Report July-December 2012, Volume I, April 2013.”

 5            15. Attached as Exhibit 14 is a true and correct copy of the Office of the Inspector

 6     General’s “Semi-Annual Report January-June 2012, October 2012.”

 7            16. Attached as Exhibit 15 is a true and correct copy of the Office of the Inspector

 8     General’s “Semi-Annual Report, July-December 2011, April 2012.”

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10           I declare under penalty of perjury under the laws of the State of California and the United

11     States of America that the foregoing is true and correct. Executed in San Francisco, California on

12     July 24, 2013.

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14                                                     /s/ Maneesh Sharma
15                                                     Maneesh Sharma

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            Decl. M. Sharma Supp. Defs’ Opp'n. to Pls.’ Mot. Rel. to Use of Force & Discipl. Measures
                                                                                (2:90-cv-00520 LKK JFM PC)
